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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

  CBV, INC.,                                     )
                                                 )
                 Plaintiff/Counterclaim-         )
                 Defendant,                      )
                                                 ) C.A. No. 21-1456-GBW
                 v.                              )
                                                 )
  CHANBOND, LLC,                                 )
                                                 )
                  Defendant/Crossclaim-          )
                  Defendant/Crossclaim-          )
                  Plaintiff,                     )
                                                 )
  DEIRDRE LEANE and IPNAV, LLC                   )
                                                 )
                  Defendants/Counterclaim-       )
                  Plaintiffs/Crossclaim-
                  Plaintiffs.


           [PROPOSED] ORDER DENYING THE MOTION FOR ADMISSION PRO HAC
                    VICE OF STEVEN LEWIS RADER, ESQUIRE

          The Court having considered ChanBond, LLC (“ChanBond”), Deirdre Leane, and IPNav,

 LLC’s opposition the Motion for Admission Pro Hac Vice filed (the “Motion”) (D.I. 153) on

 behalf of Steven Lewis Rader, Esquire;

          IT IS HEREBY ORDERED, this ___ day of October, 2022, that the Motion is denied and

 ChanBond, Deirdre Leane, and IPNav, LLC are awarded the attorneys’ fees and costs they incurred

 in opposing the Motion;

          IT IS FURTHER ORDERED that the Court will refer Mr. Rader to the Office of

 Disciplinary Counsel.

 Dated:
                                             _______________________________________
                                             UNITED STATES DISTRICT JUDGE



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